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           This matter comes before the Court on the Motion of Plaintiffs Amazon.com, Inc.

    and Amazon Data Services, Inc. to Extend Expert and Briefing Deadlines.            Dkt. 591.

    Having re-viewed the Motion, and for good cause shown, the Court hereby GRANTS the

    Motion. Specifically, it is hereby ORDERED that:

           I. Expert disclosures shall be governed by the following schedule:

                  a. Expert disclosures: April 18, 2022

                  b. Rebuttal disclosures: May 13, 2022

                  c. Expert depositions complete by: May 2 I, 2022

           2. Summary judgment briefing shall be governed by the following schedule:

                  a. Summary judgment motions: May 27, 2022

                  b. Summary judgment responses: June I0, 2022

                  c. Summary judgment replies: June I7, 2022

                  d. Summary judgment hearing: June 24, 2022



           ENTERED this 30th day of March, 2022.




    Alexandria, Virginia
